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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )                8:14CR357
                                               )
       vs.                                     )
                                               )
ALEJANDRO GARCIA-ROA,                          )                  ORDER
                                               )
                      Defendant.               )


      This matter is before the court on the unopposed Motion to Continue Trial [100].
Counsel needs additional time to explore plea negotiations. The defendant shall comply
with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the Motion to Continue trial [100] is granted, as follows:

       1.    The jury trial now set for February 24, 2015 is continued to March 31, 2015.

       2.    Defendant shall file a waiver of speedy trial as soon as practical.

        3. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and March 31, 2015, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence. 18
U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED February 9, 2015.

                                           BY THE COURT:

                                           s/ F.A. Gossett, III
                                           United States Magistrate Judge
